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                     !N THE UNITED STATES DISTRICT COURT FOR THE                      CLERK. U.S. DISTRICT COURT
                                                                                        ALEXANDRIA. VIRGINIA
                              EASTERN DISTRICT OF VIRGINIA

                                       Alexandria Division


 UNITED STATES OF AMERICA


                V.



 LIEN KIM THIPHAN,                                     Case No. 1:20-CR-29(LMB)
 a/k/a NANCY PHAN


                Defendant.


                                    STATEMENT OF FACTS


       The United States and the defendant, LIEN KIM THI PHAN, a/k/a "Nancy Phan,"

(hereinafter, "the defendant"), agree that at trial, the United States would have proven the

following facts beyond a reasonable doubt with admissible and credible evidence:

       1.      From at least in or about August 2019 through at least in or about October 2019, in

the Eastern District of Virginia and elsewhere, the defendant did unlawfully, knowingly, and

intentionally combine, conspire, confederate, and agree, to unlawfully, knowingly, and

intentionally distribute 500 grams or more of a mixture or substance containing a detectable

amount of methamphetamine, a Schedule II controlled substance, in violation of Title 21, United

States Code, Sections 841(a)(1) and 846.

       2.      During the course and in furtherance of this conspiracy, the defendant was

personally involved in the distribution of, or it was reasonably foreseeable to the defendant that

her co-conspirators distributed or conspired to distribute in furtherance of the conspiracy, at least

1.5 kilograms but less than 5 kilograms of a mixture or substance containing a detectable amount

of methamphetamine.
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       3.      During all relevant times, the defendant resided in Fairfax, Virginia, within the

Eastern District of Virginia. The defendant agreed with others, both known and unknown, to

distribute peach tablets being held out as Adderall for monetary gain. The peach tablets were

advertised as Adderall through a darknet vendor using the moniker"addy4cheap." The defendant

agreed with others to ship drugs ordered from "addy4cheap" nationwide through the U.S. Mail

using postage paid for with cryptocurrency, specifically Bitcoin. The peach tablets that the

defendant and her co-conspirators distributed were a mixture or substance that contained a

detectable amount of methamphetamine.

       4.     In coordination with others both known and unknown, the defendant received at

her residence in Fairfax, Virginia packages containing peach tablets for redistribution. The

defendant communicated with co-conspirators in person and by phone using various messaging

applications. She also communicated directly with customers.

       5.      The defendant packaged peach tablets advertised as Adderall in order to fulfill

orders placed on "addy4cheap." To avoid detection, the defendant and her co-conspirators (1)

mailed drug parcels that did not have their true names and addresses listed as the return

information, (2) deposited those parcels at various United States Parcel Service ("U.S.P.S.")

collection boxes in the Eastem District of Virginia,(3) handled packages in a manner to avoid

leaving fingerprints, and(4)operated in the late evening or early morning hours. Specifically, the

defendant was seen dropping multiple parcels fulfilling "addy4cheap" purchases on at least

September 3, September 11, September 17, September 19, and September 24, 2019. Packages

mailed by the defendant resembled those obtained through controlled purchases made by law

enforcement through "addy4cheap."
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       6.      Between August 2019 and December 2019, law enforcement agents conducted 20

controlled purchases from "addy4cheap" on both the Empire Market and Cryptonia for a total of

767 peach tablets received weighing approximately 268 grams total. The tablets received by law

enforcement had markings of"A D" and "30" which is consistent with known markings for 30

milligram Adderall tablets.

       7.      The Empire Market lists "addy4cheap" as becoming a member on May 24, 2019.

As of December 10, 2019,"addy4cheap" had completed 3,665 sales on the Empire Market and

received 2,568 reviews. These reviews included negative feedback from different customers

stating that the tablets sold by "addy4cheap" were pressed and contained methamphetamine.

Each review lists the total amount spent in U.S. dollars by the reviewing customer. Based on

these reviews, as of December 10, 2019,"addy4cheap" had received approximately $482,572.10

from its sales on the Empire Market for an approximate 44,872 pills sold. Cryptonia listed

"addy4cheap" as becoming a member on June 29,2019. As ofNovember 7,2019,"addy4cheap"

had fulfilled 140 transactions on Cryptonia.

       8.      On or about December 9, 2019, pursuant to a search warrant, law enforcement

searched the defendant's residence. In that residence law enforcement found 95 peach tablets

resembling those advertised on "addy4cheap" vendor pages and those received during controlled

purchases as well as 100 MDMA tablets. The peach tablets and the MDMA tablets were

packaged in black foil bags similar to those received through law enforcement controlled purchases

from "addy4cheap." In the defendant's residence was also approximately $7,059.00 in U.S.

currency, two pistols, and one shotgun.

       9.      Also on or about December 9,2019, pursuant to a search warrant, law enforcement

searched the residence of one of the defendant's co-conspirators. In that residence, was over
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6,000 peach tablets weighing approximately 2.2 kilograms which resemble those advertised on

"addy4cheap" vendor pages and those received by law enforcement through controlled purchases.

The co-conspirator also had in his home multiple envelopes, baggies, raisin boxes, a printer and

other materials consistent with the packaging materials used in parcels obtained through controlled

purchases from "addy4cheap." In that home was also approximately over 400 grams of MDMA

tablets, marijuana, vape cartidges, a money-counting machine, and approximately $8,985.00 in

U.S. currency.

       ]0.       This statement offacts includes those facts necessary to support the plea agreement

between the defendant and the United States. It does not include each and every fact known to

the defendant or to the United States, and it is not intended to be a full enumeration of all of the

facts surrounding the defendant's case.

        11.      The actions ofthe defendant, as recounted above, were in all respects knowing and

deliberate, and were not committed by mistake, accident, or other innocent reason.


                                                Respectfully submitted,

                                                G.Zachary Terwilliger
                                                United States Attorney


 Date: Februai-y 3. 2020
                                                Bibeane Metsch
                                                Jay V. Prabhu
                                                Assistant United States Attorneys
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       After consulting with my attorney and pursuant to the plea agreement entered into this day

between the defendant, LIEN KIM THI PHAN,and the United States, I hereby stipulate that the

above Statement ofFacts is true and accurate, and that had the matter proceeded to trial, the United

States would have proved the same beyond a reasonable doubt.



                                                 ^NK]     THI PHAN



       I am Ann Mason Rigby, defendant's attorney.          I have carefully reviewed the above

Statement of Facts with her. To my knowledge, her decision to stipulate to these facts is an

informed and voluntary one.



                                              Ann Mason Rigby
                                              Attorney for LIEN KIM THI PHAN
